                       Case 1:21-cr-00208-APM Document 1 Filed 02/19/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of &ROXPELD

                  United States of America                                 )
                             v.                                            )
                                                                           )       Case No.
                      Thomas Webster
                                                                           )
                      DOB: XXXXXX                                          )
                                                                           )
                                                                           )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      January 6, 2021                   in the county of                                              in the
                          LQWKH'LVWULFWRI        &ROXPELD , the defendant(s) violated:

              Code Section                                                            Offense Description
        18 U.S.C. § 111(a)(1), (b) - Assaulting, Resisting, or Impeding Certain Officers with a Deadly or Dangerous Weapon,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1752(a)(1), (b)(1)(A) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority
        With a Deadly or Dangerous Weapon,
        18 U.S.C. § 1752(a)(2), (b)(1)(A) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds, with a Deadly or Dangerous
        Weapon,
        18 U.S.C. § 1752(a)(4), (b)(1)(A) - Engaging in Physical Violence in a Restricted Building or Grounds, with a Deadly or Dangerous
        Weapon,
        40 U.S.C. § 5104(e)(2)(D), (F) - Violent Entry and Disorderly Conduct on Capitol Grounds.
          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u   Continued on the attached sheet.


                                                                                                         Complainant’s signature

                                                                                               Riley Palmertree, Special Agent
                                                                                                          Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                       Digitally signed by G. Michael
                                                                                                                       Harvey
                                                                                                                       Date: 2021.02.19 21:23:54 -05'00'
Date:         February 19, 2021
                                                                                                             Judge’s signature

City and state:                         :DVKLQJWRQ'&                                G. _Michael Harvey, U.S. Magistrate Judge
                                                                                                                              _
                                                                                                          Printed name and title
